          Case 1:19-cv-04863-MHC Document 20 Filed 02/13/20 Page 1 of 15




 IN THE UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF
                     GEORGIA, ATLANTA DIVISION           FILED IN CLERK'S OfFICE                                 <

                                                                                    U.S.D.C. - Atlanta           ;
                                                                                                         . . ~.: f:
TAWANA L. CARTER                                                            .. ~   FEB 1 3 2020 :. ".:
                                                                                                             '~';4
Plaintiff,
                                                                              JAME~}J. HADEN, Clerk ':
Vs.                                                                         By:    '"\,tJ  Deputy Clerk
                                                   CIVIL ACTION
                                                   FILE NO: 1-19-CV-4063 MHC-SSA


Defendants.
SELECT PORTFOLIO SERVICING, INC.
WELLS FARGO BANK, N.A., AS TRUSTEE
FOR FREMONT HOME LOAN TRUST2005 RR3,
MORTGAGE BACKED CERTIFICATES, SERIES
2005RR3,
                                            I




         PLAINTIFF'S RESPONSE TO DEFENDANT'S MOTION TO DISMISS


COMES NOW, Plaintiff Tawana L. Carter, who files her answer to Defendants Motion To

Dismiss as follows:

                              STANDARD OF REVIEW
       Georgia's Courts of Appeals have begun looking at Motions to Dismiss, and
pleadings standards somewhat more differently, than they had in the past.
       Defendants move for a Rule 12(b)(6) dismissal. Georgia's Courts have held that
under Georgia's Civil Practice Act, no technical fOnDS of pleading are required in the
complaint. (O.C.G.A. §9-11-8(e)(1)). Approved examples of simplified complaints are
contained within appendices to the ciVil-practice statutes. The Plaintiff doesn't need not
to designate a claim by name; and even failure to call it by its correct name, is not
grounds to dismiss. Andrew L. Parks, Inc. v. SunTrust Bank, 248 Ga. App. 846, 545
S.E.2d 31 (2001).
           Case 1:19-cv-04863-MHC Document 20 Filed 02/13/20 Page 2 of 15




       The Parks Court held that "Under our rules, pleadings are judged by their function
and not the name given by a party. Holloway v. Frey, 130 Ga.App. 224, 227(3), 202
S.E.2d 845 (1973)." In other words, even if called by the wrong name, it is the substance
of p)eadings that determine their treatment by the courts. Fann v. Johnson County Btl.
OfEduc., 606 SE2d 110,270 Ga. App. 186 (2004); Masters v. Clark, 604 SE2d 556, 369
Ga. App. 537 (2004).
       Georgia Supreme Court has instructed, when a complaint fails to conform to such
requirements, the proper remedy is a more definite statement, not a dismissal of the
complaint or judgment on the pleadings, at least so long as the plaintiff is able and
wiUing to amend, to confonn to the statutory requirements. Hall v. Churchwell's, Inc.,
243 Ga. 852, 853 (257 SE2d 272) (1979). See also Estate ofShannon v. Ahmed, 304 Ga.
App. 380, 384 (1) (696 SE2d 408) (2010); TechBios, Inc. v. Champagne, 301 Ga. App.
592, 594 (1) (a) (688 SE2d 378) (2009); Roberts v. Nessim, 297 Ga. App. 278, 284-285
(2) (676 SE2d 734) (2009).
       Further, the Plaintiff may plead conclusions instead of facts as long as the pleading
gives fair notice of the claim. Ledford v. Meyer, 249 Ga. 407, 290 S.E.2d 908 (1982);
Carley v. Lewis, 221 Ga. App. 540,472 S.E.2d 109 (1996). In fact, the Plaintiff may set
out two or more statements of claims in one count or in separate counts. (O.C.G.A. §9-
11-8(e)(2). These claims may be stated in the alternative and be inconsistent with each
other, and if one of them, stated independently, would be sufficient, the complaint will be
deemed sufficient even if the alternative statement is insufficient (O.C.G.A. §9-11-
8(e)(2).
       Moreover, it is long been settled that a complaint should not be dismissed unless it
appears beyond doubt that the plaintiff could prove no set of facts in support of his claim
which would entitled him to relief. Conley v. Gibson, 355 U.S. 41, 78 S. Ct. 99, L.Ed. 2d
80 (1957). The allegations of the claim must be taken as true and must be read to include
any theory on which the plaintiff may recover. See Linder v. Portocarrero, 963 F.2d 332,
           Case 1:19-cv-04863-MHC Document 20 Filed 02/13/20 Page 3 of 15




334-36 (11th Cir. 1992) (Wells Fargo, et alng Robertson v. Johnston, 376 F.2d 43 (5th
Cir. 1967)).
"When the sufficiency of the complaint is questioned by a motion to dismiss for failure to
state a claim for which relief may be granted, the rules require that it be construed in the
light most favorable to the plaintiff with all doubts resolved in [his] favor even though
unfavorable constructions are possible. Not unless the allegations of the complaint
disclose with certainty that the plaintiff would not be entitled to relief under any state of
provable facts should the complaint be dismissed." (Citation and punctuation omitted.)
Hartsfield v. Union City Chrysler-Plymouth, 196 Ga. App. 779, 780 (1) (397 SE2d 49)
(1990).
       Plaintiffs claims are not barred by res judicata. Ms. Carter's claims were not, and
could not have been brought up in previous cases, the claims had not yet happened.
Ms. Carter was first approved by Bank of America for a loan modification in 2010 and
made six payments on time only to be denied. Ms. Carter claims this was a case of
Promissory Estoppel. Ms. Carter applied for another modification through NACA on
March 30, 2012 only to be denied. Another modification was denied in April, 2014.
Another was denied in 2018 and then again on May, 2019. Ms. Carter has claimed in her
complaint violations for FDCPA, Reg. X, and CCPA. These claims should move into
discovery and survive the Motion to Dismiss.


      A.       Ms. Carter Has Not Brought Her Bankruptcv Related Claims in This
           Case
       Ms. Carter' does not intend for this Court to rule on anything related to what is in
the Bankruptcy case.       Ms. Carter respectfully, requests this Court to pay as much
attention to the Complaint, and to this Opposition that the Court pays to Wells Fargo's
Answers and Motion to Dismiss.
       Ms. Carter is proceeding pro se, which is against her wishes and better judgment,
            Case 1:19-cv-04863-MHC Document 20 Filed 02/13/20 Page 4 of 15




but he must, out of necessity. Georgia does not guarantee access to the Courts, but
guarantees the right to represent oneself, or to be represented by counsel.      See Smith v.
Baptiste:

        " ... , the history of the current version of the constitutional provision at
        issue in this case 'indicate[s] that the sole purpose underlying the
        revision and adoption of Art. I, Sec. I, Par. XII was to define and
        protect the right of an individual to represent himself in the courts
        of this state.' Nelms v. Georgian Manor Condo. Assn., supra at
        413(3). The dissent also ignores the critical factor that Nelms compared
        the Georgia constitutional provision to the access to courts provisions of
        other states, which, unlike the Georgia provision, expressly 'provide that
        all courts shall be open to every person for the redress of an injury done
        him [.] [Cits.], Nelms v. Georgian Manor Condo. Assn., supra at
        411(1), 321 S.E.2d 330. Thus, as Nelms correctly concluded, 'Art. I,
        Sec. I, Par. XII is a 'right of choice' (between self-representation and
        representation by counsel) provision, and not an 'access to the courts'
        provision such as found in the constitutions of [other states].' Nelms v.
        Georgian Manor Condo Assn., supra at 413(3)".
Smith v. Baptiste, 287 Ga. 23, 27, 694 S.E.2d 83, 87 (2010).
        "As ratified in 1877, the 'right to the courts' provision read as follows:
        'No person shall be deprived of the right to prosecute or defend his own
        cause in any of the courts of this State, in person, by attorney, or both.'
        Ga. Const. of 1877, Art. I, Sec. I, Par. IV. That language remained
        unchanged in the 1945 and 1976 Constitutions. See Nelms, 253 Ga. at
        412, 321 S.E.2d 330. The short discussions regarding this provision
        during the debates leading to our current **91 Constitution focused on
        the deletion of the final phrase 'or both,' in order to clarify that a litigant
        is not entitled to be represented by himself and by counsel at the same
        time. See id. at 412-413,321 S.E.2d 330".
Ill.


       B. The Doctrine o(Res Judicata
       Wells Fargo, et al goes back to the Doctrine of res judicata. They appear to claim
           Case 1:19-cv-04863-MHC Document 20 Filed 02/13/20 Page 5 of 15




that Plaintiffs first through fourth claims for relief are barred by res judicata.   Wells
Fargo , et al claims that "Counts 1-4' were or should have been previously
adjudicated ... "


               (1)   Wrongful Foreclosure
       Wells Fargo, et al does not explain how, wrongful foreclosure could have been
adjudicated in a prior action, when the wrongful foreclosure did not take place until 2019.
The way Wells Fargo, et al has explained it, a litigant must look years into the future,
and anticipate what will happen, and sue for it while in Court, years before the incident
takes place. Obviously, if Ms. Carter had such insight, there would have never been the
problem of a wrongful foreclosure, he would have anticipated, and prevented such action.
Similar to thought police, the police arrest someone years earlier, because a criminal
thought crossed someone's mind, therefore, that person in the future might commit a
criminal act, so we best arrest and jail him now.
       As for what Wells Fargo, et al is asserting is barred by res judicata, the above is
an adequate description of what Wells Fargo, et al is telling this Court. "Any theory or
claim related to Wells Fargo, et a IMortgage's interest in the Property, Note, Security
Deed, the Assignment, the mortgage debt, the bankruptcy, credit reporting, foreclosure
attempts prior to September 2017, or Wells Fargo, et al Mortgage's standing to foreclose
... is now barred by res judicata". [MTD,p.l1].
       To the best of Ms. Carter's understanding and belief, failing to reaffinn the debt,
caused the property to automatically revert back to Wells Fargo, et al. In Ms. Carter's
mind, the act of continuing and taking care of the property, and keeping the property
insured, repaired and taxes paid, when she approached Wells Fargo, et al to purchase the
property for fair market value at the time, they would have sold it to her.
       Ms. Carter considered herelf a renter, and she attempted to purchase the property.
Wells Fargo, et al refused to sale to m.
           Case 1:19-cv-04863-MHC Document 20 Filed 02/13/20 Page 6 of 15




         Everything Wells Fargo, et al told to the Court, without any evidence, was
accepted as truth, and now, there is evidence that Wells Fargo, et al perjured themselves,
and the courts fell for it.
       Now, Wells Fargo, et al is going to do the same things as before, to keep the truth
from coming out. The truth that everything they said to the Courts before were lies. That
is not what the Courts are here for. Ms. Carter, not once lied to the Court.             Didn't
matter. According to Wells Fargo, et aI, the one who tells the best lies, wins. And you
can't bring it up later, because you will be barred by res judicata. How convenient.
       *873 "Fraud on the court constitutes 'only that species of fraud which does or
attempts to, defile the court itself, or is a fraud perpetrated by officers of the court so that
the judicial machinery cannot perform in the usual manner its impartial task of adjudging
cases.' Travelers Indem. Co., 761 F.2d at 1551. Perjury and fabricated evidence do not
constitute fraud upon the court, because they 'are evils that can and should be exposed at
trial,' and '[ f]raud on the court is therefore limited to the more egregious forms of
subversion of the legal process, ". those we cannot necessarily expect to be exposed by
the normal adversary process.' Id. at 1552 (citation omitted)".
Council v. Am. Fed'n o/Gov't Employees (AFGE) Union, 559 F. App'x 870, 873 (lith
Cir.2014).
       Ms. Carter still disagrees with Wells Fargo, et al on the issue of res judicata.
       "The purpose of the doctrine of res judicata is to prevent the re-litigation of claims
which have already been adjudicated, or which could have been adjudicated, between
identical parties or their privies in identical causes of action". Crowe v. Elder, 290 Ga.
686, 723 S.E.2d 428 (2012); James v. Intown Ventures, LLC, 290 Ga. 813, 725 S.E.2d
213 (2012) ..
       "The general rule is 'that a former judgment binds only as to the facts in issue and
events existing at the time of such judgment, and does not prevent a re-examination even
of the same questions between the same parties, if in the interval the material facts have
               Case 1:19-cv-04863-MHC Document 20 Filed 02/13/20 Page 7 of 15




so changed or such new events have occurred as to alter the legal rights or relations of the
litigants.'"    Choi v. Immanuel Korean United Methodist Church, 327 Ga. App. 26, 755
S.E.2d 354 (2014).
        "When determining whether an action is barred by res judicata, a federal court
applies the law of the state of its location'. Laskar v. Peterson, 771 F.3d 1291,311 Ed.
Law Rep. 20 (1Ith Cir. 2014).
§ 38:9. Res judicata effect of judgment, Trial Handbook/or Go. Lawyers § 38:9.
        A litigant seeking to prove a res judicata defense needs to introduce only those
parts of the record of the prior proceeding, dulv certified, which are necessary to prove
the defense. Jordan Trucking, Inc. v. W"dey, 199 Ga. App. 635, 405 S.E.2d 734 (1991).
A litigant seeking to prove a res judicata defense need not introduce the entire record of
the prior proceeding. Boozer v. Higdon, 252 Ga. 276, 313 S.E.2d 100 (1984).
§ 4:32. Res judicata, Go. Admissibility 0/ Evidence In Civil Cases § 4:32.
        None of the documents Wells Fargo, et al attached to their Answers were dulv
certified. A litigant seeking to prove res judicata defense need introduce only those parts
of record of prior proceeding, duly   certifie~   which are necessary to prove the defense.
Continental Ins. Co. v. Higdon, 167 Ga. App. 231, 306 S.E.2d 20 (1983), judgment
rev'd, 252 Ga. 276, 313 S.E.2d 100 (1984). § 27:l3. 'Pleading of former judgment, Ga.
Practice & Procedure § 27:l3 (2017-2018 ed.).
        Res judicata and collateral estoppel do not apply because appellant failed to
introduce certified copies of the Industrial Tribunal proceedings. Roberts v. Porter,
Davis, Saunders, & Churchill, 193 Ga. App. 898, 901(2), 389 S.E.2d 361 (1989);
Bradley v. British Fitting Group, PLC, 221 Ga. App. 621, 472 S.E.2d 146 (1996). Id.
        In the case at bar, defendants claiming res judicata, failed to introduce certified
copies. Res judicata and/or collateral estoppel do not apply for that failure is terminal.
        The elements of a claim of wrongful foreclosure are "a legal duty owed to [the
plaintiff] by the foreclosing party, a breach of that duty, a causal connection between the
             Case 1:19-cv-04863-MHC Document 20 Filed 02/13/20 Page 8 of 15




breach of that duty and the injury [the plaintiff] sustained, and damages." Heritage Creek
Dev. Corp. v. Colonial Bank, 268 Ga.App. 369, 371(1), 601 S.E.2d 842 (2004) (footnote
omitted). See also Calhoun First Nat. Bank v. Dickens, 264 Ga. 285-286(1), 443 S.E.2d
837 (1994) ("Where a grantee does not comply with the statutory duty to exercise fairly
the power of sale in a deed to secure debt ... the debtor may either *638 seek to set aside
the foreclosure or sue for damages for the tort of wrongful foreclosure.") (citations
omitted). Stewart v. Suntrust Mortg., Inc., 331 Ga. App. 635, 637-38, 770 S.E.2d 892,
896 (2015).
       Ms. Carter's complaint claimed that Wells Fargo, et al had not sent Notice of
Foreclosure letters for the time period that they foreclosed. The letters that Wells Fargo,
et al had sent, were followed by a letter stating that they had chosen not to foreclose at
that time.     Ms. Carter further has alleged that Wells Fargo, et al had not standing
because the loan had been sold into a therefore lacked standing, and that there is a
statutory duty to exercise fairly the power of sale.
       To the extent that Wells Fargo, et al claims a default in payments precludes Ms.
Carter from suing Wells Fargo, et al for failing to perform their contractual duties, is
without merit. "This argument is without merit because Stewart's obligation to make
payments was not a precondition to SunTrust's obligations of reinstatement and
foreclosure, which, obviously, are triggered by a failure to pay. See generally OCGA §
13-5-8 ("A condition, precedent or subsequent, not complied with, insufficiency or
failure of consideration, or any act of the opposite party, by which the obligation of the
contract has ceased, may be pleaded as a defense."); Nutting v. Wilson, 75 Ga.App. 148,
152,42 S.E.2d 575 (1947) (plaintiffs right to recover on a contract may depend upon a
condition precedent to be performed by him). In sum, the trial court therefore erred by
dismissing this claim. Stewart v. Sun trust Mortg., Inc., 331 Ga. App. 635, 639, 770
S.E.2d 892, 897 (2015).
             Case 1:19-cv-04863-MHC Document 20 Filed 02/13/20 Page 9 of 15




       Claim for ReliefBreach of Good Faith and Fair Dealing
      It is well settled that:
       A motion to dismiss for failure to state a claim upon which relief may be granted
**425 "should not be sustained unless (1) the allegations of the complaint disclose with
certainty that the claimant would not be entitled to relief under any state of provable facts
asserted in support thereof, and (2) the movant establishes that the claimant could not
possibly introduce evidence within the framework of the complaint sufficient to warrant a
grant of the relief sought. In deciding a motion to dismiss, all pleadings are to be
construed most favorably to the party who filed them, and all doubts regarding such
pleadings must be resolved in the filing party's favor.         (Citations and punctuation
omitted.)" Bakhtiarnejad v. Cox Enterprises, 247 Ga.App. 205, 207-208(1), 541 S.E.2d
33 (2000).
Smith v. Germania ofAm., 249 Ga. App. 587, 588, 549 S.E.2d 423, 424-25 (2001).


       Without arguing this Claim for Relief, defendants, in essence have shown that this
Claim can move forward.
     "Stewart contends the trial court erred by dismissing his claim for breach of duty of
good faith and fair dealing. A duty of good faith and fair dealing is implied in all
contracts. OCGA § 11-1-203; West v. Koufman, 259 Ga. 505, 506, 384 S.E.2d 664
(1989). A breach of that duty may arise where a party to a contract acts arbitrarily or
capriciously in executing its contractual duties. See Hunting Aircraft v. Peachtree City
Airport Auth., 281 Ga.App. 450, 452(1), 636 S.E.2d 139 (2006). Thus, for the same
reasons discussed in Division 3, the tria~ court erred in dismissing the claim for breach of
the duty of good faith and fair dealing. Racette, 318 Ga.App. at 181(5), 733 S.E.2d 457".
Stewanv. Suntrust Mong., Inc., 331 Ga. App. 635, 639, 770 S.E.2d 892,897 (2015).


       Claim for ReliefFraudiConspiracv to Defraud
          Case 1:19-cv-04863-MHC Document 20 Filed 02/13/20 Page 10 of 15




       "A motion to dismiss for failure to state a claim   shou~d   not be sustained unless (1)
the allegations of the complaint disclose with certainty that the claimant would not be
entitled to relief under any state of provable facts asserted in support thereof; and (2) the
movant establishes that the claimant could not possibly introduce evidence within the
framework of the complaint sufficient to warrant a grant of the relief sought". Stewart v.
Suntrust Mortg., Inc., 331 Ga. App. 635, 636, 770 S.E.2d 892,895 (2015).
       Wells Fargo, et at complains that "Plaintiff utterly fails to identify any false
representations and/or affirmative misstatements that he contends were made to him at
any time by Wells Fargo, et al ... ; he fails to identify when or on what occasions the
alleged misrepresentations were made, fails to identify which agent, employee or
representative of Wells Fargo, et al. Mortgage made any alleged misrepresentations to
her detriment" [MTD,p.14]. Plaintiff disagrees.
       Ms. Carter gave as examples of the fraud/intent to defraud by filing deceptive
1099 A's in that they claimed the property had been abandoned and that Ms. Carter was
personally liable for the debt.    The other way that Ms. Carter was defrauded was by
Wells Fargo, et al continually adding fees to the discharged debt. Once the debt was
discharged, and all that could legally remain was a lien against the property.      Since Ms.
Carter had not reaffirmed the loan, Wells Fargo, et al could have demanded the property
at any given time.


       Claim (or ReliefIntentional Infliction ofEmotional Distress
        "It has not been enough that the defendant has acted with an intent which is

tortious or even criminal, or that he has intended to inflict emotional distress, or even that
his conduct has been characterized by malice, or a degree of aggravation which would
entitle the plaintiff to punitive damages for another tort. Liability has been found      **19
only where the conduct has been extreme and outrageous. (Punctuation and footnote
omitted.) Jarrard v. United Parcel Svc., 242 Ga.App. 58, 61, 529 S.E.2d 144 (2000).
          Case 1:19-cv-04863-MHC Document 20 Filed 02/13/20 Page 11 of 15




"Whether the alleged conduct is sufficiently extreme or outrageous is a question of law
for the trial court." (Punctuation and footnote omitted.) Kirkland v. Earth Fare, Inc., 289
Ga.App. 819, 823(4),658 S.E.2d 433 (2008).
Mbigi v. Wells Fargo Home Mortg., 336 Ga. App. 316, 326, 785 S.E.2d 8, 18-19 (2016).
      "An intentional wrongful foreclosure may be the basis for an action for intentional
infliction of emotional distress". See Blue View Corp. v. Bell, 298 Ga.App. 277, 279(1),
679 S.E.2d 739 (2009); DeGolyer, 291 Ga.App. 444, 449--450(4), 662 S.E.2d 141 (2008).
Mbigi v. Wells Fargo Home Mortg., 336 Ga. App. 316, 326, 785 S.E.2d 8, 19 (2016).
      Ms. Carter, within the framework of the complaint, not only that Wells Fargo, et
al wrongfully foreclosed on his home, but that it engineered a default on the loan by
Wells Fargo, et al removing Ms. Carter from the loan, then rescinding the sale under
power four years later, and adding him back. Wells Fargo, et al improperly refused to
sale the property to Ms. Carter two times, which would have been the equivalent to Ms.
Carter attempting to pay the loan in full. See Webb v. Bank ofAmerica, 328 Ga.App. 62,
62-63, 761 S.E.2d 485 (2014) (allegations in the complaint, which included that lender
intentionally refused to accept loan payments and intentionally *327 breached the loan
modification agreement could, within the framework of the complaint, warrant a grant of
the relief sought, which included wrongful foreclosure and intentional infliction of
emotional distress); DeGolyer, 291 Ga.App. at 448--449(4), 662 S.E.2d 141 (evidence
supported claim for intentional infliction of emotional distress where party proceeded
with foreclosure and sale after being told it was foreclosing on the wrong tract of
property); Blanton v. Duru, 247 Ga.App. 175, 178-179(5),543 S.E.2d 448 (2000) (trial
court's award of damages for intentional infliction of emotional distress affirmed, where
foreclosure proceedings were instituted under a security deed that the court had ordered
to be canceled). Compare James v. Bank of America, N.A., 332 Ga.App. 365, 368(3),
772 S.E.2d 812 (2015) (physical precedent only) (failure to provide proper notice of
foreclosure was not extreme or outrageous conduct); Racette v. Bank of America, N.A.,
          Case 1:19-cv-04863-MHC Document 20 Filed 02/13/20 Page 12 of 15




318 Ga.App. 171, 174(1),733 S.E.2d 457 (2012) (allegation that appellees conducted a
foreclosure sale despite knowledge of inaccuracies in published foreclosure notice was
not extreme or outrageous conduct). "Accordingly, we conclude that the trial court erred
in dismissing Mbigi's claim for intentional infliction of emotional distress". Mbigi v.
Wells Fargo Home Mortg., 336 Ga. App. 316,326-27, 785 S.E.2d 8, 19 (2016).
       Claim {or Relief Violations of Georgia Residential Mortgage ActlRICO
      To establish "a civil RICO claim, a litigant is required to show by a preponderance
of the evidence that Wells Fargo, et al violated the RICO statute, OCGA § 16-14-4, that
he has suffered injury, and that Wens Fargo, et aI's violation of the RICO statute was the
proximate cause of the injury." (Citations omitted.) Cox v. Mayan Lagoon Estates Ltd.,
319 Ga.App. 101, 109(2)(b), 734 S.E.2d 883 (2012). To demonstrate a violation of
OCGA § 16-14-4, Jones must "show an injury by a pattern of racketeering activity. A
pattern requires at least two interrelated predicate offenses." (Citations omitted.) Brown
v. Freedman, 222 Ga.App. 213, 217(3), 474 S.E.2d 73 (1996).
      Ms. Carter identified several different acts or omissions which, she contends,
constituted residential mortgage fraud and were part of a fraudulent scheme to wrongfully
foreclose on her home.
      "Under OCGA § 16-14-3(8)(A) (2014),5 to constitute a pattern of racketeering
activity, the acts of racketeering must be taken 'in furtherance of one or more incidents,
schemes, or transactions that have the same or similar intents, results, accomplices,
victims, or methods of commission or otherwise are interrelated by distinguishing
characteristics[.]' OCGA § 16-14-3(8)(A) (2014). The statute was amended in 2001 to
provide the acts be taken 'in furtherance of one or more incidents, schemes, or
transactions,' (emphasis supplied) and so we cannot agree   **17 with the trial court that, if
the alleged predicate acts were taken in furtherance of one transaction, then Mbigi's
RICO claim must necessarily fail. See Ga. 1. 2001, p. 858, § 1. Compare Cobb v.
Kennon Realty Svcs., 191 Ga.App. 740, 741-742(2), 382 S.E.2d 697 (1989) (Trial court
           Case 1:19-cv-04863-MHC Document 20 Filed 02/13/20 Page 13 of 15




correctly granted summary judgment as appellant failed to allege any pattern of
racketeering activity in his complaint, and the evidence submitted concerned one
extended transaction between appeUant and appellees.). Mbigi v. Wells Fargo Home
Mong., 336 Ga. App. 316, 322-23, 785 S.E.2d 8, 16-17 (20 ]6).
       Ms. Carter has alleged an elaborate scheme wherein Wells Fargo, et al and their
attorneys came up with a way to get Ms. Carter's name back onto a loan where the
bankruptcy court had discharged the debt.       By faking the first foreclosure sale, Ms.
Carter' name would have had to be removed from the loan. When the sale under power
was rescinded, Ms. Carter was added back as debtor and the loan went back into his name
as an active loan.
       Together with the other allegations within the complaint, there is enough for this
claims for relief are enough to prevent motion to dismiss being granted for this claim.


                                     CONCLUSION
       Ms. Carter has responded to Motion to Dismiss adequately enough to keep Motion
to Dismiss from being Granted. Ms. Carter moves this Honorable Court to DENY the
motion and allow this case to move forward into discovery.
       Respectfully submitted, this 11 th of Feb, 2020,

                                             By:   Tawana L. CarterL




                               CERTIFICATE OF SERVICE
         Case 1:19-cv-04863-MHC Document 20 Filed 02/13/20 Page 14 of 15




Defendant, Select Portfolio Servicing, Inc. is a foreign corporation with a
registered agent is Corporate Service Company, 40 Technology Parkway, S. , Suite
300, Norcross, Ga. 30092. Wells Fargo Bank, N.A. trustee, et al also has
Corporate Service Company as its registered agent.
                                        Case 1:19-cv-04863-MHC Document 20 Filed 02/13/20 Page 15 of 15




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